         Case 2:17-cv-01705-WBS-AC Document 51 Filed 10/26/18 Page 1 of 2


 1   Michael S. Agruss
     SBN: 259567
 2   AGRUSS LAW FIRM, LLC
     4809 N. Ravenswood Ave., Suite 419
 3   Chicago, IL 60640
     Tel: 312-224-4695
 4   Fax: 312-253-4451
     michael@agrusslawfirm.com
 5
     Attorney for Plaintiffs,
     LAURA NORDYKE
 6
     BONNIE NORDYKE

 7

 8

 9
                                   UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
                                       SACRAMENTO DIVISION
11
     LAURA NORDYKE and BONNIE                        )
12   NORDYKE,                                        )
                                                     ) Case No.: 2:17-cv-1705-WBS-AC
13                  Plaintiffs,                      )
            v.                                       )
14                                                   )
                                                     )
15   SUMMIT RECEIVABLES,                             )
                                                     )
16                  Defendant.                       )
                                                     )
17                                                   )
18                                       NOTICE OF SETTLEMENT
19
            Plaintiffs, LAURA NORDYKE and BONNIE NORDYKE, (“Plaintiff”), through their
20
     attorney, Agruss Law Firm, LLC, informs this Honorable Court that the Parties have reached a
21

22   settlement in this case. Plaintiffs anticipate dismissing this case, with prejudice, within 30 days.

23
        DATED: October 26, 2018              AGRUSS LAW FIRM, LLC
24

25
                                             By: /s/ Michael S. Agruss          .
26                                                Michael S. Agruss
                                                  Attorney for Plaintiffs
27                                                LAURA NORDYKE
28
                                                  BONNIE NORDYKE


                                                         1
         Case 2:17-cv-01705-WBS-AC Document 51 Filed 10/26/18 Page 2 of 2


 1

 2                                     CERTIFICATE OF SERVICE
 3
             On October 26, 2018, I electronically filed the Notice of Settlement with the Clerk of the U.S.
 4   District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
     Defense Counsel, Cami Perkins, at CPerkins@nevadafirm.com.
 5
                                   By: /s/ Michael Agruss
 6
                                          Michael Agruss
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                       2
